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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

In Re:                                                             Case No. 09-31457
                                                                   (Chapter 13)
Yurii Korotkov and
Iryna Pavlovna Korotkov
SSN: xxx-xx-8440 and xxx-xx-9624
                     Debtors.
______________________________________________________________________

                                     Certificate Of Service

        This certifies that the Consent Order entered herein on March 28, 2016, on Motion to
Deem Mortgage Loan Account Current and Motion to Impose Sanctions Against SunTrust
Mortgage, Inc. for Violation of the Discharge Injunction filed by the debtors was served upon the
following persons by depositing a copy or copies thereof in the United States mail, first class,
postage prepaid, on March 28, 2016, addressed to such persons at the addresses below indicated
for such persons:

Bankruptcy Administrator                    Warren L. Tadlock, Trustee
(via electronic court notice)               Chapter 13 Trustee
                                            (via electronic court notice)

   Mr. and Mrs. Korotkov
   3012 Twilight Lane
   Indian Trail, NC 28079

   SunTrust Bank
   c/o S. Troy Staley, Esq.
   Hutchens Law Firm
   (via ECF service)

   SunTrust
   RVW 3034
   PO Box 27767
   Richmond, VA 23261


   /s/ Matthew H. Crow
   __________________________
   Matthew H. Crow
   Attorney for Debtors
